

On Attorney’s Fees

PER CURIAM.
Upon consideration, claimant’s request for attorney’s fees is denied. We have previously determined that Rule 9.400(b), Fla. R.App.P., requires that a motion for attorney’s fees be filed separately. See Florida Dept. of Commerce v. Davies, 379 So.2d 1313 (Fla. 1st DCA 1980); Wallace v. Walton Context Building, 383 So.2d 729 (Fla. 1st DCA 1980); Munroe Memorial Hospital v. Thompson, 388 So.2d 1338 (Fla. 1st DCA 1980).
SHIVERS, SHAW and THOMPSON, JJ., concur.
